     Case 4:22-cv-03419 Document 16-5 Filed on 06/02/23 in TXSD Page 1 of 2




                   UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

MAYA DANGELAS,                             §
   PLAINTIFF,                              §
                                           §
v.                                         §          CIVIL ACTION NO.:
                                           §          4:22-CV-003419
QUOC LINH TRADING SERVICE                  §
CONSTRUCTION COMPANY                       §
LIMITED;TRAN, QUANG QUOC;                  §
AND HUYNH, THI CAM LINH,                   §
    DEFENDANTS.                            §


                                      ORDER


       Upon reviewing the documents on file, counsel argument on May 10, 2023,

and the applicable law, the Court is of the opinion that the Motion to seek leave of

the Court for permission to effect alternate means of service should be GRANTED.

It is therefore ORDERED that

1.     Service under Fed. R. Civ. P. 4(f) and Article 10(a) of the Hague Convention

is authorized. The Clerk of the Court is directed to send citations to:

       1)    Defendant QUOC LINH TRADING SERVICE CONSTRUCTION
             COMPANY LIMITED at 115 Binh Tien 2 Hamlet, Duc Hoa Ha
             Ward, Tan An, Long An, Vietnam;

       2)    Defendant HUYNH, THI CAM LINH at 115 Binh Tien 2 Hamlet,
             Duc Hoa Ha Ward, Tan An, Long An, Vietnam; and

       3)    Defendant TRAN, QUANG QUOC at 115 Binh Tien 2 Hamlet, Duc
             Hoa Ha Ward, Tan An, Long An, Vietnam.

                                      Page 1 of 2
     Case 4:22-cv-03419 Document 16-5 Filed on 06/02/23 in TXSD Page 2 of 2




2.     Pursuant to Fed. R. Civ. P. 4(f)(2)(C)(ii), the Clerk of the Court is further

directed to address and send international service by mail to:

       1)    Defendant QUOC LINH TRADING SERVICE CONSTRUCTION
             COMPANY LIMITED at 115 Binh Tien 2 Hamlet, Duc Hoa Ha
             Ward, Tan An, Long An, Vietnam;

       2)    Defendant HUYNH, THI CAM LINH at 115 Binh Tien 2 Hamlet,
             Duc Hoa Ha Ward, Tan An, Long An, Vietnam; and

       3)    Defendant TRAN, QUANG QUOC at 115 Binh Tien 2 Hamlet, Duc
             Hoa Ha Ward, Tan An, Long An, Vietnam.


ßSIGNED on _______________________.


                                                ____________________________
                                                     PRESIDING JUDGE




                                      Page 2 of 2
